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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
             v.                        )
                                       )       No. 20 CR 447
KOSHUAN HUGHES,                        )       Judge Robert W. Gettleman
                                       )
                                       )
                   Defendant.          )

      KOSHAUN HUGHES’ MOTION FOR RELEASE FROM CUSTODY

      NOW COMES Defendant, KOSHUAN HUGHES, through his counsel,

QUINN A. MICHAELIS, and respectfully requests that this honorable court set

a bond in this matter and release Mr. Hughes from custody. In support of his

motion, Mr. Hughes states the following.

                                BACKGROUND FACTS

      On August 6, 2020, Mr. Hughes appeared before the court for a detention

hearing, at which point he waived his right to a detention hearing without

prejudice. On August 27, 2020, Mr. Hughes was charged with one count of being

a felon in possession of a firearm, pursuant to 18 U.S.C. §922(g).

                           DANGER TO THE COMMUNITY

      Mr. Hughes is not a danger to the community.              Even taking the

govenrment’s statement of the events leading up to Mr. Hughes’ arrest as true,

Mr. Hughes complied with the orders of the police when they pulled him over on

the date of his arrest. He did not attempt to flee and was cooperative with the



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officers. The government cannot present any evidence that would indicate that

Mr. Hughes was acting violently of that he intended to perpetrate some sort of

violent crime.

      Further, Mr. Hughes’ criminal history illustrates that he is not a violent

person. He has no previous convictions for gun possessions. The majority of Mr.

Hughes’ arrests are cannabis cases, most of which are expungeable under 20 ILCS

2630/5.2(a)(1)(G-5)).

                           REBUTTABLE PRESUMPTION

      Because the maximum term of imprisonment for the charged offense is 10

years, there is a rebuttable presumption of detention. 18 U.S.C. §3142(e). Mr.

Hughes’ previous convictions for non-violent drug offenses should rebut any

claim that he should be detained as a danger to the community.

      Additionally, Mr. Hughes’ connections to the Northern District of Illinois

are substantial. Mr. Hughes’ girlfriend and their 2 year old daughter live in

Rockford, Illinois. Prior to Mr. Hughes’ arrest, he had been unemployed due to

the global health crisis and took care of his young daughter during the day. Mr.

Hughes’ mother and siblings all live in Chicago, including his cousins, who are

proposed third party custodians Mr. Hughes’ ties to the area are so strong that

they rebut the presumption that he would flee and thereby disconnect himself

from the only support network he has. He has lived in the Northern District of

Illinois his entire life. Mr. Hughes’ personal history and connections to the area

rebut the presumption that he poses a flight risk.




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      The presumption of detention is further rebutted by the fact that both of

his cousins in Chicago have offered to act as third-party custodians, and allow

him to live at their homes if the court does not allow him to return to his own

home with his girlfriend and daughter. Furthermore, his cousin, Latoya Jones,

has offered to help Mr. Hughes look for employment if he is released, as her

residence is down the street from a temporary staffing agency. Ms. Jones’ has

three children who are all attending school virtually currently and Mr. Hughes

can assist them with their schoolwork during the day as well.

                             Nature Of The Offense

      As noted above, the nature of the offense creates a rebuttable presumption

of detention. However, Mr. Hughes’ family’s faith in him, his lack of violent

criminal history, the nature of his alleged involvement in the possession of the

firearms all militate against his detention. There is no evidence that Mr.

Hughes ever used or threatened to use the firearms connected with the charged

offense. The government’s complaint fails to establish that Mr. Hughes actively

participated in any violent activity whatsoever. Hence, Mr. Hughes’ alleged

conduct in the instant offense does not indicate that he poses a danger to the

community or that he poses a risk of flight.




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      WHEREFORE, Mr. Hughes asks the Court to release him to the custody

of his cousin, Latoya Jones, on whatever conditions the court deems appropriate,

pending resolution of this case.




Respectfully Submitted,

s/ Quinn A. Michaelis
Quinn A. Michaelis
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73 W. Monroe, Suite 106
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312-714-6920


                          CERTIFICATE OF SERVICE

      I, Quinn A. Michaelis, an attorney, certify that in accordance with Fed. R.

Crim. P. 49, Fed R. Civ. P. 5, LR5.5, and the General Order on Electronic Case

Filings (ECF), the following document:

      KOSHAUN HUGHES’ MOTION FOR RELEASE FROM CUSTODY

was served on January 19 2021, to all parties of record via the CM/ECF system.



s/ Quinn A. Michaelis

Quinn A. Michaelis

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